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                     EXHIBIT 8
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 1                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
 2

 3       ***************************************************************


 4      IN RE: OIL SPILL BY THE
        OIL RIG DEEPWATER HORIZON
 5      IN THE GULF OF MEXICO ON
        APRIL 20, 2010
 6                               CIVIL ACTION NO. 10-MD-2179 "J"
                                 NEW ORLEANS, LOUISIANA
 7                               MONDAY, JULY 29, 2013, 3:00 P.M.
 8      THIS RELATES TO ALL CASES

 9       ***************************************************************


10
             SWORN STATEMENT OF LIONEL "TIGER" SUTTON, III, ESQ.
11                 TAKEN BEFORE THE HONORABLE LOUIS J. FREEH
                                SPECIAL MASTER
12

13      APPEARANCES:

14                              LOUIS J. FREER, SPECIAL MASTER
                                BENJAMIN SCOTTI, ESQUIRE
15                              STEVE TIDWELL

16
                                LEE & WALSH
17                              MICHAEL S. WALSH, ESQUIRE
                                257 MAXIMILIAN STREET
18                              BATON ROUGE LA 70802
                                (ATTORNEY FOR LIONEL SUTTON, III, ESQ.)
19

20
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        PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY. TRANSCRIPT
25      PRODUCED BY COMPUTER.


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03:98PM     1     needed to do that, which most lawyers didn't, I mean, until we

03:98PM     2     explained it to them, that it had to all add up correctly, and

03:48PM     3     you can't add up the corporate papers unless you have all of

03:48PM     4     the facilities.

G3: 48PM    5     Q.   When you then had the meeting with him, the only meeting

03:48PM     6     that we've talked about, across the street in the restaurant,

03:48PM     7     Reuben's, whatever it was, did you relate to him what you had

03:48PM     8     found out?

03:98PM     9     A.   Yes, just what I told you just then.

03:48PM    10                  First, he was like, why? And I explained, because

03:98PM    11     that's -- they have to look at the big picture or whatever, all

03:48pm    12     that -- like I just told you.

03:98PM    13    Q.    As far as you know, was he ever paid for that claim?

03:49PM    14     A.   I really don't know.

03:49PM    15    Q.    You never heard from him or anyone else that he was paid

03:49PM    16    on that claim?

03:49PM    17    A.    No.

03:49PM    18    Q.    When you said you would typically pull up the name and see

03:99PM    19    where it was, you did that in this particular case, correct?

03:99PM    20    A.    Yes.

03:99PM    21    Q.    How many other cases during the months that you were there

03:49PM    22    did you do a similar exercise; in other words, query about a

03:49PM    23    particular claim?

03:99PM    24    A.    Countless. I couldn't tell you. I mean --

03:99PM    25    Q.    Hundreds? I'm not trying to trick you.


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03:49PM    1     A.   No, I know.

03:49PM    2     Q.   I'm trying to get a sense.

03:49PM    3     A.   I'm trying -- I'm trying to think how long I was there. I

03:49PM          mean, I didn't start --

03:49PM    5     Q.   You were there from November to --

03:49PM    6     A.   Yeah. I wouldn't have started doing that in November or

03:49PM    7     probably even December because I didn't know enough about the

03:49PM    8     process.

03:49PM    9                I mean, I would want to say, I mean, it could have

03:49PM   10    been a hundred or more. I mean, that was part of my daily job,

03:49PM   11     really, that I did that, so I couldn't tell you how many times.

03:49PM   12    Q.    After that meeting with Mr. Andry, did you meet with him

03:50PM   13    again?

03:50PM   14    A.    I don't think so. I can't remember the next time I

03:50PM   15    actually saw him.

03:50PM   16    Q.    Did you have subsequent telephone calls with him about

03:50PM   17    various matters relating to the claims administration?

03:5cm    18    A.    The Talen's claim, he called me, I think, a few times to

03:50PM   19    ask me about that. He may have called me about two or three

03:50PM   20    other claims, but I don't remember.

03,50pm   21                I mean, lawyers called me every day about claims. So

03:50PM   22    I can't exactly remember, but it could have been a few more;

03:50PM   23    but, I don't remember what they were or anything.

03:50PM   24    Q.    Do you remember speaking to him on the phone about the

03:50PM   25    Thonn claim?


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04:21PM    1     talking about the payment of the claims and the status of the
04:21PM    2     payment of the claims; is that correct?
04:21PM    3     A.   You'd have to show me the e-mails; but, I did -- that
09:21PM    4    was -- I did that with a lot of lawyers on a regular basis. So
04:21PM    5    if you're saying that I did, to me, that wouldn't be
04:22PM    6    surprising.
04:22PM    7    Q.    Well, I'm not talking about a lot of lawyers, now. I'm
04:22PM    8    asking you about claims that came out of the Lerner Andry
04:22PM    9    representation.
04:22PM 10      A.    I can only remember talking to them about a handful of
04:22PM 1 1     claims; the, Thonn claim, the Talen's claim and maybe three
04:22PM   12    other claims that he may have -- that Jon may have mentioned in
04:22PM   13    the phone calls we talked about.
04:22PM   14                I don't remember ever talking to him about any other
04:22PM   15    specific claims.
04:22PM 16      Q.    Did Jon ask you to check on the Thonn claim at some point?
04:22PM   17    A.    No. I don't think so.
04:22PM   18    Q.    Did Lerner?
04:22PM   19    A.    No.
09:22PM   20    Q.    Did anyone else?
09:22PM   21    A.    Casey Thonn.
04:22PM   22    Q.    You kept speaking to Casey Thonn, even after your wife
04:22PM   23    recused herself and had the case assigned to Andry, correct?
04:22PM   24    A.    I had him as a personal injury client.
04:22PM   25    Q.    While your wife was working for the administrator?


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09:35PM    1     claim to be paid?

04:35PM    2     A.   No. When it got paid, it got paid. I didn't have any --

04:35PM    3     wasn't trying to push the claim to get paid.

04:35PM    4     Q.   I didn't ask you that; but, when it got paid, you would

04:35PM    5     get paid your arrears from Crown? That was your expectation?

09:35PM    6     A.   No, I didn't get -- it had nothing to do with Crown. I

09:35PM    7     never got paid my arrears from Crown to anything with the Thonn

04:35PM    8     case. I don't know what you're saying there. I don't

04:35PM    9     understand the question.

04:35PM 1 0      Q.   I'll repeat the question. When Lerner got paid, when

04:35PM 1 1      Lerner got money out of the claims process, you expected to get

04:35PM   12     paid with respect to your Crown obligations?

04:35PM   13     A.   No. One didn't have anything to do with the other.

04:35PM   14               When he got paid out of the Casey Thonn fee, I

04:35PM   15    expected to get my share of the fee for the work that I had

04: 35PM 1 6    done on Casey Thonn's case when I represented him before the

09:35PM   17     GCCF before I went to work for Pat.

04:35PM   18               That's what I expected from the Thonn case. I didn't

09:35PM 1 9     expect -- it had nothing to do with Crown.

04:35PM   20    Q.    Well, you would know, would you not, based on the payment

04:35PM   21    of the claim from the administrator, when Lerner was getting

09:36PM   22    money or not getting money?

04:36PM   23    A.    No. I wouldn't know that.

04:36PM   24    Q.    Well, if the claim was paid, you could -- and we'll go

04:36PM   25    over the e-mails in detail -- you could determine when Lerner


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04:38PM       1     Q.   Well, you said you were entitled to it because of the

09:38PM       2     prior representation?

04:38PM       3     A.   For the work I had done on Thonn's case with the GCCF.

04:38PM       4     Q.   So the money you got from Lerner you believe was in

09:38PM       5     payment of the work you had done on the Thonn case?

04:38PM       6     A.   It was my share of the Thonn fee for the work that I had

04:39PM       7     performed on the Thonn case.

04:39PM       8     Q.   Did you ever disclose that to Mr. Juneau?

04:39PM       9     A.   No.

09:39PM 1 0        Q.    You never disclosed it to anybody at the Claim

04 : 39E'M   11     Administration Office?

04:39PM      12    A.    No.

04:39PM      13    Q.    Was Mr. Andry aware of that?

09:39PM      14                MR. WALSH: I'm sorry, but aware of what?

04:39PM      15                THE WITNESS: That I disclosed it?

04:39PM      16    BY MR. FREEH:

09:39PM      17    Q-    No, that you had a fee that you believed was owing to you

04:39PM      18    from the prior representation?

09:39PM      19    A.    I know I spoke to Glen about it, Glen Lerner, and e-mailed

09:39PM      20    him about it. I don't recall whether or not I would have

04:39PM      21    talked to Jon about it because when I sent -- when Casey Thonn

04:39PM      22    went over there, I wasn't really talking to Jon at that point,

09:39PM      23    so I don't remember if I ever spoke to him about it or not.

09:39PM      24                It was Glen. I mean, that's who I was getting the

09:39PM      25    fee from.


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05:44PM    1     Q.     That's the first page of 5-08.

05:44PM    2     A.     Oh, the last e-mail in the chain?

05:44PM    3     Q.     Yeah. 5/9 at 3:51 p.m.

05:49PM    4     A.     Okay.

05:44PM    5     Q.     You say, "Just between me and you, here is the report."

05:44PM    6     A.     Right.

05:44PM    7     Q.     What do you mean, "just between me and you"?

05:44PM    8     A.     Well, I'm just sending that to him. This is a report that

05:44PM    9     I typically would have done a lot because what happens is

05:44PM 10      lawyers would call and say, "My claims aren't getting paid.

05:44PM 11       What's going on? Y'all are taking too long." The same

05:49PM   12     complaining that they always did.

05:44PM   13                Most of the time, if not all of the time, it wasn't a

05:44PM   14    problem in our office; it was a problem with the way they were

05:44PM   15    doing their claims.

05:44PM   16                So I would look at -- I wouldn't pull up their

05:44PM   17    claims, but you can pull up a pie chart that would show their

05:44PM   18    total. It wouldn't show individual claims, but it would show

05:44PM   19    the total -- or a graph or something. It would show, okay, you

05:45PM   20    have 402 claimants, 61 percent have submitted a signed claim

05:45PM   21    form.

05:45PM   22                So, right then and there, you see that he's

05:45PM   23    complaining that -- like most lawyers, he's complaining that

05:45PM   24    his complaints haven't been paid, and only 60 percent have even

05:45PM   25    submitted a claim form. 22 percent started a registration form


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C5:45EM    1     but didn’t finish it.

O5:4Pt     2     Q.     No,    I can read the document.

OS:4DPM    3     A.      So that’s what I would have been saying is,           “Hey,    the

O5:45PN    4    problem is not in our office.          You guys aren’t doing what y’all

O5:4pM     5     are supposed to do to get claims processed.
                                                  ’
                                                  T

onsi       6    Q.       How rnary similar e—rnaiis like this in the time you were

O:45PN!    7     there did you send to other lawyers with this kind of detail?

Or:45pM    8    A.       I don’t know.      A lot of times,   I might have read it to

05:45PM    9     them right off the screen.

D:4O      10    Q.      Bit the question is,       any other c—mails that you wrote that

05:4EPM   11    you recall composing with this amount of detail?

Ob:4O     12    A.      I don’t recall.        I don’t recall how many other ones or

 :45PM    13    what other ones I would have done.            I know most of the time I

(5:HOM    14    probably would have.

05:4tO    15                    Most of the time,   they would have called me on the

o540E 16        phone,    and I would have pulled it up on the screen while they

05:46PM   17    were talking to no.          I woald have said,    “Hey,    you know,   you

O:4PM     18    hadn’t been doing your job.          Only 60 percent of your clients

0546pM    19    have even filed a claim form,” or something like that.

05:4      20                    I mean,   it was to show that,    hey,   it’s nor our

05:46PM   21    office,       it’s you guys.

05:46PM   22    Q.      When you say just between toe and you,           are you indicating

o5:46pM 23            trying to communicate no him that you want no keep this

05:46?K   24    confidential,       your report?

05:460N   25    A.      No.     What I’m probably saying is that I didn’t want him to


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05:46PM     1    fuss at Jon about it or say that I said, you know, that the

05:46PM     2    cases -- that Jon wasn't doing his job of making sure his cases

05:46PM     3    got filed properly or something.

05:46PM     9               That's probably what I meant because, you know, Jon

05:46PM     5    and I were just getting started -- starting to talk again, and

05:46PM     6    I probably didn't want him to say, "Hey, I checked, and you're

05:46PM     7    screwing up. I've been paying you this money, you hadn't

05:47PM     8    gotten these cases filed yet." That's probably what I meant,

05:47PM     9    if I recall right.

05:47PM   10     Q.    Would you say, Mr. Sutton, by getting this information,

05:47PM   11     reporting it in this detail, sending it to Mr. Lerner, that you

05:47PM   12     were assisting him in his claims?

05:47PM   13     A.    Only to the extent that we would have assisted everyone

05:47PM   14     like that. I don't know. I don't know how to answer that.

05:47PM   15                I did this -- I understood that responding to an

05:47PM   16     attorney that asked a question about the status of his claim, I

05:47PM   17     understood that was part of my job. I understood that we were

05:47PM   18     supposed to him assist attorneys and claimants when they called

05:47PM   19     to understand what was going on with that claim.

05:47PM   20                Pat made me -- made that very clear. He, in fact,

05:47PM   21     asked me to do that on a daily basis.

05:47PM   22     Q.    At the time you wrote this particular e-mail to

o5,47pm   23     Mr. Lerner, you had an ongoing business relationship with him,

05:48PM   24     and he was paying you money on a regular basis, and he owed you

05:48PM   25     money; is that correct?


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05:49PM     1    doing on that -- what the problem was on that claim.

05:49PM     2                 So I didn't think that there was a problem with this

05:49PM     3    at all. I still don't know think that there was a problem with

05:49PM     4    this at all. I mean, I understood that to be my job.

05:49PM     5    Q.    You don't think this was a conflict you should have

05:49PM     6    reported at the time?

05:49PM     7    A.    No, because all I'm reporting -- all I'm telling him is

05:49PM    8     what has been filed. I'm not -- I mean, no. I don't -- I

05:49PM    9     don't see that as a conflict at all.

05:49PM 10       Q.    The information you're giving him, he could not himself

05:49PM 1 1      get from the documents that he would have received from the

05:50PM   12     administrator?

05:50PM   13     A.    Oh, no, I think he could have. I think he definitely

os;sopm 14       could have looked at all of his claims and saw that only

05:50PM   15     61 percent signed the claim.

05:50PM   16                They have access to the same thing that I was looking

05:50PM   17     at, as I understand. They -- the lawyer could look at the

05:50PM   18     portal and look at the same stuff that I was looking at for

o5,5opm   19     this. That was always my understanding.

05:50PM   20                So he could have done that and looked at it himself;

os,sopm 21       but, Glen is not a -- he wouldn't have done that.

05:50PM   22     Q.   Looking at the next page, Glen sends you an e-mail on

05:50PM   23     May 9, 15:13, the middle of the page, and he says, "Ooh la la.

05:50PM   24     Work harder. How is Chris?"

05:50PM   25     A.   Yeah.


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06:35PM     1                Glen is not there. Glen is never there. So you

o6:35pm     2    couldn't refer it to Glen and tell somebody, "Go see

06:35PM     3    Glen Lerner," because he's never anywhere.

06:359M     4    Q.    Did you talk at that time to Jon Andry at all about the

06:35PM     5    referral?

06:35PM     6    A.    No. I don't think I was talking to Jon at that time.

06:36PM     7    Q.    You told Mr. Tidwell that there was nothing in writing

06:36PM     8    about any fee or payment back to you for the referral? Nothing

06:36PM     9    was --

06:36PM 1 0      A.    No.

06:36PM 1 1      Q.    -- put in writing?

06:36PM   12     A.    No.

06:36PM   13     Q.    But Jon Andry was someone who you not only didn't trust,

06:36PM   14     but who you said had burned you before in terms of a payment,

06:36PM   15     correct?

06:36PM   16     A. Correct.

06:36PM   17     Q.    You didn't think it was necessary to have something in

06:36PM   18     writing to protect your interest?

06:36PM   19     A.    I hadn't talked to Jon about any of it. I was dealing

06:36PM   20     with Glen, and I didn't think it was important for me to put it

06:36PM   21     in writing for Glen. I was dealing with him. I wasn't dealing

06:36PM   22     with Jon at all.

06:36PM   23     Q.   But Jon was going to be the attorney who did the

06:36PM   24     representation?

06:36PM   25     A.   No. As I understood, it was going to be the Andry Lerner


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08:42PM      1    A.    They had their own claim, and they represented parties,
08:42PM      2    yes. A lot, I think. I don't know how many.

08:42PM      3    Q.    Was this a law firm you were familiar with before you

08:42PM      4    worked in connection with the CAO?

08:42PM      5    A.    No, other than I've heard of them, and I know who they

08:42PM      6    are. But the way I got involved in this, I was walking past

08:42PM      7    the conference room one day, and Mike said, "Oh, I've got a

08:42PM      8    meeting with the lawyers from Sher Garner. They want to

08:42PM      9    discuss some claims. Come in."

08:42PM 1 0                  So I went in there, and I saw a one of the lawyers I

08;42PM 1 1       went to school with was in there. We were on moot court

08:42PM    12     together or something. I said, "Hey, I hadn't seen you in

08:42PM    13     20 years," or whatever it was.

08:42PM    14                So they wanted to discuss -- they had a list of cases

08:42PM    15     they were going to discuss with Mike, like a hundred cases. So

08:43PM    16     we started listening to them.

08:43PM    17                Finally, you know, Mike said, "Look" -- Mike passed

08:43PM    18     it off on me because he wanted to get out of there quick.

08:43PM 1 9       Anyway, he said, "Look, we can only deal with so many cases at

08:43PM    20     a time."

08:43PM    21                In fact, what Mike and I came up with -- because so

08:43PM    22     many law firms were contacting he and I and wanting to know the

06:43p14   23     status -- and they just wanted to know "the status of our

08:43PM    24     cases." So what we said was, we will give you one in-person

08:43PM    25     meeting, where you come in there and we'll discuss generically,


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08:43PM     1    in general, the process and what's going on in the cases; but,

08:43PM     2    that's your one meeting.

08:43PM     3               Then, after that, you've got to send us, like, a list

08:43PM     4    of five cases a week or 10 cases a week, and then we will

08:43PM     5    figure out everything that's going on with those and get it

08:43PM     6    back to you.

08:43PM     7               So Mike and I started doing that, because we had a

08:93Pm    8     big law firm out of Miami that Pat brought me into a meeting,

08:93PM    9     and it was the same thing.

08:43PM 1 0                 There was some representative from Alabama who

08:43PM 1 1      brought a bunch of lawyers over there to a meeting with Pat,

08:49PM   12     and he brought me in there, and I had to explain that to him.

08:94PM   13                I mean, that was -- that was basically what I was

o8:44pm   14     doing all the time, because these people will drive you crazy.

08:94PM   15                So I didn't know Sher Garner. I knew who they were.

08:44PM   16     But when I walked into that meeting, I knew the attorney. Mike

08:49PM   17     kind of said, "You take Sher Garner."

GB:99PM   18                But I think he was still dealing with them because I

08:44PM   19     believe I was on spring break, and I was on the beach, and they

08:94PM   20     were -- kept e-mailing me claims to check, and Mike was getting

08:44PM   21     cc'd on it, too.

08:44PM   22                Because Mike said, "We've got to put a stop to this
08:49PM   23     shit. It's just getting ridiculous." That's when we started

08:44PM   24     saying only five a week, or whatever we came up with.

08:99PM   25     Q.   So trying to minimize or control the number of inquiries


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08:44PM     1    from outside lawyers, were you spending --

08:44PM     2    A.    At that time.

08:442M     3    Q.    At that time, you were spending most of the your time as

08:44PM     4    you just described, running down queries and claims by lawyers,

08:49PM     5    either coming to you directly or to Mike or Pat, and they were

08:44PM     6    then assigning you to do the follow-up?

08:44PM     7    A.    Lawyers, claimants, accountants.

08:452M     8               What had happened was, the reason -- and I alluded to

08:45PM     9    this before -- when the stay came out, we felt like -- the

08:45PM 10       switchboard was being lit up. BrownGreer was being just

08:45PM 11       bombarded, oh, what's going to happen to my claim, and all that

08:95PM   12     kind of stuff.

08:45PM   13                So we said we needed to come up with some type of

08:45PM   14     script that BrownGreer could read when all of these people

08:45PM   15     starting calling. This was when it was getting, you know,

08:45PM   16     publicity and all that kind of stuff.

08:45PM   17                So we came up with a script, and BrownGreer was

08:45PM   18     supposed to give it to their people to read. At the bottom of
08:45PM   19     the script it said, "If you have any questions, you can contact

08:45PM   20     Tiger Sutton at," and it gave my DHE e-mail address and my

os:45pm 21       cell phone number.

08:95PM   22                But the first girl that read the script, she didn't

08:95PM   23     know that that sentence was supposed to be if she had any

08:45PM   24     questions, and she read that into the script. I mean, she read
08:45PM   25     that -- then some lawyer got it and posted it on the trial


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08:98PM           the script and your name and cell phone number being out there.

08:48PM      2               So the question is the following: Over the course of

08:48PM      3    the months that you were there, if you can estimate, maybe you

08:48PM      4    can't, but if you could estimate on how many different

08:48PM      5    occasions did you query a database on behalf of some lawyer or

08:48PM      6    matter? Was it --

08:48PM      7    A.    Every day; but, how many times a day, I couldn't tell you.

08:48PM      8    But at least every day.

08:49PM      9    Q.    At least every day?

08:49PM 1 0       A.    At least every day.

08:49PM 1 1       Q.    A couple or more than a couple?

08:49PM    12     A.    I would say more than a couple, but I don't know.

08:49PM    13                Sometimes we would query for the accountants. You

08:49PM    14     know, we would have a meeting --

08:49PM    15     Q.    This question is just for lawyers and outside counsel.

08:49PM    16     A.    I mean, it was -- obviously, it was a lot when the stay

08:49PM    17     was first lifted. Then, when we were going to the hearing,

08:49PM    18     when Pat was -- I got a lot more. I mean, you would get --

08:49PM    19     from lawyers, you would get like -- it would be in spurts

08:49PM    20     depending on what was going on with the Court, particularly at

08:49PM    21     the end because everybody was trying -- wanted to know if their

08:49PM    22     claim was going to get through the process before the Judge

08:49PM    23     ruled and then before the Fifth Circuit ruled. So they would

08:49PM    24     call you every day.

or3,49pm   25                So, in spurts, I would be doing a lot more than a


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08:49PM       1    couple of days. Sometimes it would just be a couple of days.

08:49PM       2    Pat would give me a list several times a week.

08:49PM       3                               EXAMINATION

08:49PM       4    BY MR. TIDWELL:

08:49PM       5    Q.    A couple of things. Did you have a case involving a

oa:sopm       6    Cody Nedved? Does that ring any bells?

08:50PM       7    A.    No. S pell it, please.

oe:sopm       8    Q.    Cody, C-O-D-Y, Nedved, N-E-D-V-E-D.

08:50PM       9    A.    Nedved sounds -- but I know a Melved from playing baseball

08:50PM 1 0        with my kids, so I don't know if that's why that name sounds

08:50PM 1 1        familiar.

oe ; 50PM   12     Q.    It was a BP derivative matter?

oalsopm 13         A.    Oh, no, I don't think I would have known him.

08:50PM 14         Q.    You know, you were trying to wrap your arms around how

08:50PM     15     many times that you might have looked at Casey Thonn's.

08:50PM     16     A.    Yes.

os: 50PM 17        Q.    You checked his claim about almost twice as much as

oa sopm 18         anybody else did in the CAO office.

08:50PM     19     A.    I checked it twice as much as anybody else in the CAO

08:51PM     20     checked? Well, I would expect that because he was calling and

08:51PM     21     asking me.

08:51PM     22     Q.    Right. Right. Probably out of all the ones that you

08:51PM     23     checked, he was probably by about a quarter more than any of

08:51PM     24     those you checked.

08:51PM     25     A.    I would expect that because he was my personal injury


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